Entered: December 20, 2013     Case 13-19106   Doc 43     Filed 12/20/13   Page 1 of 1
Signed: December 19, 2013

SO ORDERED




                                       UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF MARYLAND
                                                Baltimore Division

        In re:                                        *
                                                      *
                 FRANK E VILLA                        *          Case No. 13-19106-NVA
                 ANA M VILLA                          *
                                                      *                 (Chapter 13)
                             Debtors                  *
                                                      *

                                           ORDER CONFIRMING PLAN

                The Plan under Chapter 13 of the Bankruptcy Code having been transmitted to creditors
        and it having been determined, after hearing on notice, that the requirements for confirmation
        set forth in 11 U.S.C. §1325 have been satisfied and that the plan complies with the other
        applicable provisions of the Bankruptcy Code, it is hereby:

                 ORDERED, that the plan filed November 15, 2013 is hereby confirmed; and it is further

               ORDERED, that the property of the estate shall not vest in the Debtors until the Debtors
        are granted a discharge or this case is dismissed; and it is further

               ORDERED, that the Debtors are directed to pay to the Trustee, on or before the 23rd
        day of each month, the sum of $2400.00 for a period of 12 months, $2765.00 for 12 months,
        $2965.00 for 8 months and then $3188.00 for 28 months for a total of 60 months.

                                   *           *             *             *

        TRUSTEE RECOMMENDATION:
        The Chapter 13 Trustee represents that the plan complies with the provisions of 11 U.S.C.
        §1325 and recommends confirmation.

        /s/ Ellen W. Cosby
        Ellen W. Cosby, Chapter 13 Trustee

        cc:      All Creditors, Debtors, Counsel to Debtors , Trustee

                                                   END OF ORDER
